Case 3:19-cv-00373-HEH Document 6-1 Filed 07/11/19 Page 1 of 3 PagelD# 35

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

TOWANDA J. MAHONE,
Plaintiff,
v. Civil Action No. 3:19-cv-00373-HEH
RIVER CITY RECOVERY, LLC
LOSS PREVENTION SERVICES, INC.

Defendants.

DECLARATION IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT
I, Ian E. Vance, declare under penalty of perjury that the following facts are true and

correct to the best of my knowledge, information, and belief:

1, I am licensed to practice law in the Commonwealth of Virginia and this Court.
2. I am counsel of record for the Plaintiff, Towanda Mahone, in this case.

3. I have personal knowledge of the facts stated in this Declaration.

4. A complaint was filed herein on May 17, 2019 and service of process was had on

the Defendant, River City Recovery, LLC. (“River City”), via its registered agent James E. Kane
on May 29, 2019.

5. On June 4, 2019, I filed electronically with the ECF filing system the Returned
Summons. ECF No. 4.

6. Accompanying this Declaration as “Exhibit A” is a copy of the information page
for River City from the Commonwealth of Virginia State Corporation Commission.

7. Exhibit A shows that the registered agent and mailing address for River City is the

same as used in the proof of service.

Page | of 2
Case 3:19-cv-00373-HEH Document 6-1 Filed 07/11/19 Page 2 of 3 PagelD# 36

8. More than twenty-one (21) days have elapsed since service was made on River
City, and River City has failed to plead or otherwise defend as provided by the Federal Rules of
Civil Procedure.

I declare the foregoing to be true and correct, under pe , of perjury, this the 11th day

  
 
  

of July, 2019.

An

lan E. Vance —

Page 2 of 2
Case 3:19-cv-00373-HEH Document 6-1 Filed 07/11/19 Page 3 of 3 PagelD# 37

7/11/2019 Business Entity Details EK xX Hi [BIT A

Alert to business entities regarding mailings from VIRGINIA COUNCIL FOR CORPORATIONS or U.S. BUSINESS SERVICES is available from the Bulletin Archive link of

Clerk's Office website.

 

 

 

SCC eFile > Entity Search > Entity Details

 

FAST. SIMPLE. SECURE.
RIVER CITY RECOVERY, LLC
ce eFile
SCC eFile Home Page General

Check Name

Distinguishability

Business Entity Search :

Certificate Verification SCC ID: 52278390 oo

FAQs Entity Type: Limited Liability Company
eontaecUs Jurisdiction of Formation: VA

Date of Formation/Registration: 6/28/2007

Status: Fee delinquent

Give Us Feedback

Principal Office

 

2500 AUSTIN AVENUE
RICHMOND VA23223

Registered Agent/Registered Office

JAMES E KANE

1313 E CARY ST
RICHMOND VA 23219
RICHMOND CITY 216
Status: Active

Effective Date: 1/27/2010

Screen ID: e1000

 

Login | Create an Account

SCC eFile

SCG oFile Business Entity Details @ tele

Select an action

File a registered agent change

File a registered office address change

Resign as registered agent

File a principal office address change

Pay annual registration fee

Order a certificate of fact of existence

Submit a PDF for processing (What can I submit?)
View eFile transaction history

Manage email notifications

 

 

 

 

https://sccefile.scc.virginia.gov/Business/S227839

in
